Case 1:05-cv-01133-.]DT-STA Document 8 Filed 06/13/05 Page 1 of 2 Page|D 1

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IN THE UNITED STATES DISTRICT COURT USJ `J€F o

FOR 'I'HE WESTERN DISTRICT OF TENNESSEE U~ '3 AH 88 ‘6
EASTERN DIVISION

?“Lf£`§§<f 88 51 none

REELFOO'I` BANK, Civil NO. 1-05-1133- -T[An

Plaintiff,
V.

U'NITED S'I'ATES DEPARTMENT
OF AGRICULTURE

Defendant.

 

OR.DER EXTEN'DING TIME TO ANSWER COMPLAINT

 

The United StateS of America, On behalf Of its agency, USDA,

is GRANTED an extension of time to file it'S answer in the above-

referenced Complaint for an additional Sixty (60) days, through and
including September 5, 2005.

IT IS SO ORDERED,

ThiS fig day of HQM , 2005.

A _)

Thomas Anderson
United States Magistrate Judge

This document entered on the docket dam in compiiance
with Ru\e 53 and;or 79 (a) FP.GP on __j__| H_DS_

 

UNITSTED`ATES DISTRICT C URT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-01133 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

